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8                                 UNITED STATES DISTRICT COURT

9                                EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,
11                                                        Case No. 2:11-CR-0190 MCE
                          Plaintiff,
12                                                        ORDER GRANTING REQUEST TO
                          v.                              SUBMIT SUPPLEMENTAL MEDICAL
13                                                        RECORDS RELATED TO D.I. 414
     NICHOLAS RAMIREZ,
14
                          Defendant.
15

16          Having considered counsel’s Request to Submit Supplemental Medical Records
17   Related to D.I. 414, the Court finds that the requested submission is justified, as the
18   supplemental medical records will assist the Court with the decision on Defendant
19   Ramirez’s Emergency Motion to Reduce or Modify Sentence Pursuant to 18 U.S.C.
20   § 3582(C)(1)(A)(I) (Compassionate Release) (D.I. 414). It is hereby ordered that counsel
21   may file Defendant Ramirez’s supplemental medical records in connection with his
22   Emergency Motion to Reduce or Modify Sentence Pursuant to 18 U.S.C. § 3582(C)(1)(A)(I)
23   (Compassionate Release) (D.I. 414).
24   ///
25   ///
26   ///
27   ///
28   ///
                                                                  Order Granting Request to Submit Supplemental
                                                                              Medical Records Related to D.I. 414
                                                                                   Case No. 2:11-CR-0190 MCE
         Case 2:11-cr-00190-KJM Document 433 Filed 08/04/20 Page 2 of 2


1          As set forth in an accompanying order, the Court finds that compelling
2    circumstances justify the filing of the Supplemental Medical Records under seal.
3          IT IS SO ORDERED.
4    Dated: August 4, 2020
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                                                                 Order Granting Motion to Submit Supplemental
                                                                           Medical Records Related to D.I. 414
                                                                                 Case No. 2:11-CR-0190 MCE
